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  7
  8                                  UNITED STATES DISTRICT COURT

  9                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 10
 11 LINDA COOPER, Individually, And                  Case No. 2:24-cv-08187-DDP-AJR
    On Behalf of The Estate of Decedent,             The Hon. Dean D. Pregerson
 12 ELINA QUINN BRANCO,                              Magistrate Judge A. Joel Richlin
 13                     Plaintiff,
 14             v.                                   ANSWER OF BONNIE SAYERS TO
                                                     PLAINTIFF’S COMPLAINT FOR
 15 COUNTY OF SAN LUIS OBISPO, a                     DAMAGES AND DEMAND FOR
    governmental entity, form unknown;               JURY TRIAL
 16 SIERRA MENTAL WELLNESS
    GROUP, a California Non-Profit
 17 Corporation; JASON HOOSON,
    individually, SAVANNAH
 18 WILLIAMS, individually; JOSH
    SIMPSON, individually; BONNIE
 19 SAYERS, individually; JULIA TIDIK,               Trial Date:        None
    individually; BETHANY AURIOLES,
 20 individually; JANET BROWN,
    individually, SHELLE WATSON,
 21 individually; DOES 1 through 10,
    inclusive,
 22
                 Defendants.
 23
 24             COMES NOW Defendant BONNIE SAYERS (“Defendant”) and hereby
 25 submits this Answer (“Answer”) to Plaintiff LINDA COOPER’s, Individually, and
 26 on Behalf of the Estate of Decedent, ELINA QUINN BRANCO (“Plaintiff”)
 27 Complaint for Damages, (“Complaint”). The numbered paragraphs in this Answer
 28 ///
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  1 correspond to the numbered paragraphs of the Complaint. Any allegation that is not
  2 specifically admitted is denied. Defendant answers as follows:
  3                             ANSWER TO COMPLAINT
  4        1.     Paragraph 1 contains conclusions of law with respect to the legal
  5 capacity of Plaintiff to bring the claims on the decedent’s behalf, to which no
  6 response is required. To the extent a response is required, Defendant lacks sufficient
  7 knowledge or information to form a belief about the allegations in this paragraph,
  8 and on that basis denies them.
  9        2.     Defendant admits that, on information and belief, decedent Elina Quinn
 10 Branco was a client at San Luis Obispo Crisis Stabilization Unit operated by Sierra
 11 Mental Wellness Group. The remainder of this paragraph contains conclusions of
 12 law with respect to the parties named as Defendants and the causes of action against
 13 them to which no response is required. To the extent a response is required,
 14 Defendant denies all allegations not specifically admitted herein.
 15        3.     Defendant denies the allegations in paragraph with respect to
 16 Defendant.
 17        4.     Defendant admits that the action is purportedly brought under the U.S.
 18 Constitution, 42 U.S.C. § 1983, and under state statutes. Defendant denies that the
 19 death of decedent was caused by any action or omission of Defendant.
 20        5.     Defendant lacks sufficient knowledge or information to form a belief
 21 about the allegations in this paragraph, and on that basis denies them.
 22        6.     Defendant lacks sufficient knowledge or information to form a belief
 23 about the allegations in this paragraph, and on that basis denies them.
 24        7.     Defendant lacks sufficient knowledge or information to form a belief
 25 about the allegations in this paragraph, and on that basis denies them.
 26        8.     Defendant admits the allegations in this paragraph.
 27        9.     Defendant admits that the decedent was a client at the Crisis
 28 Stabilization Unit operated by Sierra Mental Health Wellness Group.
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  1             10.    Defendant admits the allegations in this paragraph.
  2             11.    Defendant lacks sufficient knowledge or information to form a belief
  3 about the allegations in this paragraph, and on that basis denies them.
  4             12.    Defendant admits the allegations in this paragraph.
  5             13.    Defendant admits the allegations in this paragraph on information and
  6 belief.
  7             14.    Defendant admits the allegations in this paragraph on information and
  8 belief.
  9             15.    Defendant lacks sufficient knowledge or information to form a belief
 10 about the allegations in this paragraph, and on that basis denies them.
 11             16.    Defendant lacks sufficient knowledge or information to form a belief
 12 about the allegations in this paragraph, and on that basis denies them.
 13             17.    Defendant lacks sufficient knowledge or information to form a belief
 14 about the allegations in this paragraph, and on that basis denies them.
 15             18.    Defendant lacks sufficient knowledge or information to form a belief
 16 about the allegations in this paragraph, and on that basis denies them.
 17             19.    Defendant admits Ms. Brown was employed by Sierra Mental Wellness
 18 Group as a licensed psychiatric technician at the time of the alleged incident. The
 19 remainder of the paragraph contains conclusions of law to which no response is
 20 required. Defendant denies all remaining allegations not specifically admitted
 21 herein.
 22             20.    Defendant admits Defendant was employed by Sierra Mental Wellness
 23 Group at the time of the alleged incident. The remainder of the paragraph contains
 24 conclusions of law to which no response is required. Defendant denies all remaining
 25 allegations not specifically admitted herein.
 26             21.    Defendant lacks sufficient knowledge or information to form a belief
 27 about the allegations in this paragraph, and on that basis denies them.
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  1             22.    Defendant lacks sufficient knowledge or information to form a belief
  2 about the allegations in this paragraph, and on that basis denies them.
  3             23.    Defendant lacks sufficient knowledge or information to form a belief
  4 about the allegations in this paragraph, and on that basis denies them.
  5             24.    Defendant denies the allegations in this paragraph.
  6             25.    Defendant lacks sufficient knowledge or information to form a belief
  7 about the allegations in this paragraph, and on that basis denies them.
  8             26.    This paragraph contains conclusions of law with respect to fictitiously
  9 named defendants, to which no response is required. To the extent a response is
 10 required, Defendants lack sufficient knowledge or information to form a belief about
 11 the truth of the background allegations in this paragraph, and therefore deny them.
 12             27.    This paragraph contains conclusions of law with respect to fictitiously
 13 named defendants, to which no response is required. To the extent a response is
 14 required, Defendants lack sufficient knowledge or information to form a belief about
 15 the truth of the background allegations in this paragraph, and therefore deny them.
 16             28.    This paragraph contains conclusions of law to which no response is
 17 required. To the extent a response is required, Defendants lack sufficient knowledge
 18 or information to form a belief about the truth of the background allegations in this
 19 paragraph, and therefore deny them.
 20             29.    Defendant lacks sufficient knowledge or information to form a belief
 21 about the allegations in this paragraph, and on that basis denies them.
 22             30.    Defendant lacks sufficient knowledge or information to form a belief
 23 about the allegations in this paragraph, and on that basis denies them.
 24             31.    Defendant lacks sufficient knowledge or information to form a belief
 25 about the allegations in this paragraph, and on that basis denies them.
 26             32.    Defendant lacks sufficient knowledge or information to form a belief
 27 about the allegations in this paragraph, and on that basis denies them.
 28 ///
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  1        33.    Defendant lacks sufficient knowledge or information to form a belief
  2 about the allegations in this paragraph, and on that basis denies them.
  3        34.    Defendant lacks sufficient knowledge or information to form a belief
  4 about the allegations in this paragraph, and on that basis denies them.
  5        35.    Defendant lacks sufficient knowledge or information to form a belief
  6 about the allegations in this paragraph, and on that basis denies them.
  7        36.    Defendant lacks sufficient knowledge or information to form a belief
  8 about the allegations in this paragraph, and on that basis denies them.
  9        37.    Defendant lacks sufficient knowledge or information to form a belief
 10 about the allegations in this paragraph, and on that basis denies them.
 11        38.    Defendant lacks sufficient knowledge or information to form a belief
 12 about the allegations in this paragraph, and on that basis denies them.
 13        39.    Defendant lacks sufficient knowledge or information to form a belief
 14 about the allegations in this paragraph, and on that basis denies them.
 15        40.    Defendant lacks sufficient knowledge or information to form a belief
 16 about the allegations in this paragraph, and on that basis denies them.
 17        41.    Defendant lacks sufficient knowledge or information to form a belief
 18 about the allegations in this paragraph, and on that basis denies them.
 19        42.    Defendant lacks sufficient knowledge or information to form a belief
 20 about the allegations in this paragraph, and on that basis denies them.
 21        43.    Defendant lacks sufficient knowledge or information to form a belief
 22 about the allegations in this paragraph, and on that basis denies them.
 23        44.    Defendant lacks sufficient knowledge or information to form a belief
 24 about the allegations in this paragraph, and on that basis denies them.
 25        45.    Defendant lacks sufficient knowledge or information to form a belief
 26 about the allegations in this paragraph, and on that basis denies them.
 27        46.    Defendant lacks sufficient knowledge or information to form a belief
 28 about the allegations in this paragraph, and on that basis denies them.
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  1        47.    Defendant lacks sufficient knowledge or information to form a belief
  2 about the allegations in this paragraph, and on that basis denies them.
  3        48.    Defendant admits Hoosan “handed off” the decedent to staff at the
  4 Crisis Stabilization Unit. All other allegations not specifically admitted herein are
  5 denied.
  6        49.    Defendant lacks sufficient knowledge or information to form a belief
  7 about the allegations in this paragraph, and on that basis denies them.
  8        50.    Defendant lacks sufficient knowledge or information to form a belief
  9 about the allegations in this paragraph, and on that basis denies them.
 10        51.    Defendant admits a shift change occurred at approximately 7:30 p.m.
 11 wherein Defendant started her shift.
 12        52.    Defendant lacks sufficient knowledge or information to form a belief
 13 about the allegations in this paragraph, and on that basis denies them.
 14        53.    Defendant lacks sufficient knowledge or information to form a belief
 15 about the allegations in this paragraph, and on that basis denies them.
 16        54.    Defendant lacks sufficient knowledge or information to form a belief
 17 about the allegations in this paragraph, and on that basis denies them.
 18        55.    Defendant denies the allegations in this paragraph as to Defendant. As
 19 to the other Defendants, Defendant lacks sufficient knowledge or information to
 20 form a belief about the allegations in this paragraph, and on that basis denies them.
 21        56.    Defendant lacks sufficient knowledge or information to form a belief
 22 about the allegations in this paragraph, and on that basis denies them.
 23        57.    Defendant lacks sufficient knowledge or information to form a belief
 24 about the allegations in this paragraph, and on that basis denies them.
 25        58.    Defendant lacks sufficient knowledge or information to form a belief
 26 about the allegations in this paragraph, and on that basis denies them.
 27        59.    Defendant admits she spoke with someone who was purportedly the
 28 decedent’s mother the morning of May 16th, and that Defendant communicated that
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  1 everyone was still sleeping. Defendant lacks sufficient knowledge or information to
  2 form a belief about the remaining allegations in this paragraph, and on that basis
  3 denies them.
  4             60.    Defendant admits she spoke with someone who was purportedly the
  5 decedent’s mother the morning of May 16th, and that Defendant communicated that
  6 everyone was still sleeping. Defendant lacks sufficient knowledge or information to
  7 form a belief about the remaining allegations in this paragraph, and on that basis
  8 denies them.
  9             61.    Defendant lacks sufficient knowledge or information to form a belief
 10 about the allegations in this paragraph, and on that basis denies them.
 11             62.    Defendant denies the allegations in this paragraph.
 12             63.    Defendant denies the allegations in this paragraph.
 13             64.    Defendant lacks sufficient knowledge or information to form a belief
 14 about the allegations in this paragraph, and on that basis denies them.
 15             65.    Defendant denies the allegations in this paragraph.
 16             66.    Defendant denies the allegations in this paragraph.
 17             67.    Defendant denies the allegations in this paragraph.
 18             68.    Defendant denies the allegations in this paragraph.
 19             69.    Defendant admits she spoke with someone who was purportedly the
 20 decedent’s mother the morning of May 16th, and that Defendant communicated that
 21 everyone was still sleeping. Defendant denies all other allegations in this paragraph.
 22             70.    Defendant lacks sufficient knowledge or information to form a belief
 23 about the allegations in this paragraph, and on that basis denies them.
 24             71.    Defendant admits the allegations in this paragraph.
 25             72.    Defendant lacks sufficient knowledge or information to form a belief
 26 about the allegations in this paragraph, and on that basis denies them.
 27 ///
 28 ///
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  1        73.    Defendant admits that the decedent, on information and belief, was
  2 admitted to the Crisis Stabilization Unit as a 5150 hold. The remaining allegations in
  3 this paragraph contains conclusions of law, to which no response is required.
  4        74.    Defendant lacks sufficient knowledge or information to form a belief
  5 about the allegations in this paragraph, and on that basis denies them.
  6        75.    Defendant lacks sufficient knowledge or information to form a belief
  7 about the allegations in this paragraph, and on that basis denies them.
  8        76.    Defendant lacks sufficient knowledge or information to form a belief
  9 about the allegations in this paragraph, and on that basis denies them.
 10        77.    Defendant lacks sufficient knowledge or information to form a belief
 11 about the allegations in this paragraph, and on that basis denies them.
 12        78.    Defendant lacks sufficient knowledge or information to form a belief
 13 about the allegations in this paragraph, and on that basis denies them.
 14        79.    Defendant lacks sufficient knowledge or information to form a belief
 15 about the allegations in this paragraph, and on that basis denies them.
 16        80.    Defendant lacks sufficient knowledge or information to form a belief
 17 about the allegations in this paragraph, and on that basis denies them.
 18        81.    The allegations in this paragraph contains conclusions of law, to which
 19 no response is required.
 20        82.    Defendant lacks sufficient knowledge or information to form a belief
 21 about the allegations in this paragraph, and on that basis denies them.
 22        83.    Defendant denies the allegations incorporated into this paragraph to the
 23 extent they are denied elsewhere herein. Defendant denies any allegation not
 24 specifically admitted.
 25        84.    Defendant denies she made intentional decisions not to monitor the
 26 decedent for signs of medical distress. Defendant denies she made intentional
 27 decisions to falsify the decedent’s monitoring logs. Defendant lacks sufficient
 28 knowledge or information to form a belief about the remaining allegations in this
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  1 paragraph, and on that basis denies them.
  2             85.    Defendant denies the allegations in this paragraph.
  3             86.    Defendant denies the allegations in this paragraph.
  4             87.    Defendant denies the allegations in this paragraph.
  5             88.    Defendant denies the allegations in this paragraph.
  6             89.    Defendant denies the allegations in this paragraph.
  7             90.    Defendant denies the allegations in this paragraph.
  8             91.    The allegations in this paragraph contains conclusions of law, to which
  9 no response is required. To the extent a response is required, Defendant denies she is
 10 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 11 or any of the relief sought thereon.
 12             92.    Defendant denies the allegations incorporated into this paragraph to the
 13 extent they are denied elsewhere herein. Defendant denies any allegation not
 14 specifically admitted.
 15             93.    The allegations in this paragraph contains conclusions of law, to which
 16 no response is required. To the extent a response is required, Defendant denies she is
 17 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 18 or any of the relief sought thereon.
 19             94.    Defendant denies the allegations in this paragraph.
 20             95.    Defendant lacks sufficient knowledge or information to form a belief
 21 about the allegations in this paragraph, and on that basis denies them.
 22             96.    Defendant denies the allegations in this paragraph as to Defendant.
 23 Defendant lacks sufficient knowledge or information to form a belief about the
 24 remaining allegations in this paragraph, and on that basis denies them.
 25             97.    The allegations in this paragraph contains conclusions of law, to which
 26 no response is required. To the extent a response is required, Defendant denies she is
 27 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 28 or any of the relief sought thereon.
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  1             98.    Defendant denies the allegations incorporated into this paragraph to the
  2 extent they are denied elsewhere herein. Defendant denies any allegation not
  3 specifically admitted.
  4             99.    The allegations in this paragraph contains conclusions of law, to which
  5 no response is required.
  6             100. The allegations in this paragraph contains conclusions of law, to which
  7 no response is required.
  8             101. Defendant denies the allegations in this paragraph pertaining to
  9 Defendant. Defendant lacks sufficient knowledge or information to form a belief
 10 about the remaining allegations in this paragraph, and on that basis denies them.
 11             102. Defendant lacks sufficient knowledge or information to form a belief
 12 about the remaining allegations in this paragraph, and on that basis denies them.
 13             103. Defendant denies the allegations in this paragraph pertaining to
 14 Defendant. Defendant lacks sufficient knowledge or information to form a belief
 15 about the remaining allegations in this paragraph, and on that basis denies them.
 16             104. Defendant denies the allegations in this paragraph pertaining to
 17 Defendant. Defendant lacks sufficient knowledge or information to form a belief
 18 about the remaining allegations in this paragraph, and on that basis denies them.
 19             105. Defendant denies the allegations in this paragraph pertaining to
 20 Defendant. Defendant lacks sufficient knowledge or information to form a belief
 21 about the remaining allegations in this paragraph, and on that basis denies them.
 22             106. The allegations in this paragraph contains conclusions of law, to which
 23 no response is required. To the extent a response is required, Defendant denies she is
 24 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 25 or any of the relief sought thereon.
 26             107. Defendant denies the allegations incorporated into this paragraph to the
 27 extent they are denied elsewhere herein. Defendant denies any allegation not
 28 specifically admitted.
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  1             108. The allegations in this paragraph contains conclusions of law, to which
  2 no response is required.
  3             109. Defendant lacks sufficient knowledge or information to form a belief
  4 about the remaining allegations in this paragraph, and on that basis denies them.
  5             110. Defendant lacks sufficient knowledge or information to form a belief
  6 about the remaining allegations in this paragraph, and on that basis denies them.
  7             111. Defendant lacks sufficient knowledge or information to form a belief
  8 about the remaining allegations in this paragraph, and on that basis denies them.
  9             112. Defendant lacks sufficient knowledge or information to form a belief
 10 about the remaining allegations in this paragraph, and on that basis denies them.
 11             113. The allegations in this paragraph contains conclusions of law, to which
 12 no response is required.
 13             114. The allegations in this paragraph contains conclusions of law, to which
 14 no response is required. To the extent a response is required, Defendant denies she is
 15 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 16 or any of the relief sought thereon.
 17             115. Defendant denies the allegations incorporated into this paragraph to the
 18 extent they are denied elsewhere herein. Defendant denies any allegation not
 19 specifically admitted.
 20             116. The allegations in this paragraph contains conclusions of law, to which
 21 no response is required. To the extent a response is required, Defendant denies she is
 22 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 23 or any of the relief sought thereon.
 24             117. The allegations in this paragraph contains conclusions of law, to which
 25 no response is required. To the extent a response is required, Defendant denies she is
 26 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 27 or any of the relief sought thereon.
 28             118. The allegations in this paragraph contains conclusions of law, to which
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  1 no response is required. To the extent a response is required, Defendant denies she is
  2 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
  3 or any of the relief sought thereon.
  4         119. The allegations in this paragraph contains conclusions of law, to which
  5 no response is required. To the extent a response is required, Defendant denies she is
  6 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
  7 or any of the relief sought thereon.
  8         120. The allegations in this paragraph contains conclusions of law, to which
  9 no response is required. To the extent a response is required, Defendant denies she is
 10 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 11 or any of the relief sought thereon.
 12         121. The allegations in this paragraph contains conclusions of law, to which
 13 no response is required. To the extent a response is required, Defendant denies she is
 14 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 15 or any of the relief sought thereon.
 16         122. Defendant denies the allegations incorporated into this paragraph to the
 17 extent they are denied elsewhere herein. Defendant denies any allegation not
 18 specifically admitted.
 19         123. The allegations in this paragraph contains conclusions of law, to which
 20 no response is required. To the extent a response is required, Defendant denies she is
 21 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 22 or any of the relief sought thereon.
 23         124. The allegations in this paragraph contains conclusions of law, to which
 24 no response is required. To the extent a response is required, Defendant denies she is
 25 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 26 or any of the relief sought thereon.
 27         125. The allegations in this paragraph contains conclusions of law, to which
 28 no response is required. To the extent a response is required, Defendant denies she is
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  1 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
  2 or any of the relief sought thereon.
  3             126. The allegations in this paragraph contains conclusions of law, to which
  4 no response is required. To the extent a response is required, Defendant denies she is
  5 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
  6 or any of the relief sought thereon.
  7             127. The allegations in this paragraph contains conclusions of law, to which
  8 no response is required. To the extent a response is required, Defendant denies she is
  9 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 10 or any of the relief sought thereon.
 11             128. The allegations in this paragraph contains conclusions of law, to which
 12 no response is required. To the extent a response is required, Defendant denies she is
 13 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 14 or any of the relief sought thereon.
 15             129. The allegations in this paragraph contains conclusions of law, to which
 16 no response is required. To the extent a response is required, Defendant denies she is
 17 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 18 or any of the relief sought thereon.
 19             130. The allegations in this paragraph contains conclusions of law, to which
 20 no response is required. To the extent a response is required, Defendant denies she is
 21 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 22 or any of the relief sought thereon.
 23             131. Defendant denies the allegations incorporated into this paragraph to the
 24 extent they are denied elsewhere herein. Defendant denies any allegation not
 25 specifically admitted.
 26             132. Defendant lacks sufficient knowledge or information to form a belief
 27 about the remaining allegations in this paragraph, and on that basis denies them.
 28             133. Defendant lacks sufficient knowledge or information to form a belief
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  1 about the remaining allegations in this paragraph, and on that basis denies them.
  2         134. Defendant lacks sufficient knowledge or information to form a belief
  3 about the remaining allegations in this paragraph, and on that basis denies them.
  4         135. Defendant lacks sufficient knowledge or information to form a belief
  5 about the remaining allegations in this paragraph, and on that basis denies them.
  6         136. Defendant lacks sufficient knowledge or information to form a belief
  7 about the remaining allegations in this paragraph, and on that basis denies them.
  8         137. Defendant denies the allegations incorporated into this paragraph to the
  9 extent they are denied elsewhere herein. Defendant denies any allegation not
 10 specifically admitted.
 11         138. The allegations in this paragraph contains conclusions of law, to which
 12 no response is required.
 13         139. The allegations in this paragraph contains conclusions of law, to which
 14 no response is required.
 15         140. The allegations in this paragraph contains conclusions of law, to which
 16 no response is required. To the extent a response is required, Defendant denies she is
 17 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 18 or any of the relief sought thereon.
 19         141. The allegations in this paragraph contains conclusions of law, to which
 20 no response is required. To the extent a response is required, Defendant denies she is
 21 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 22 or any of the relief sought thereon.
 23         142. The allegations in this paragraph contains conclusions of law, to which
 24 no response is required. To the extent a response is required, Defendant denies she is
 25 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 26 or any of the relief sought thereon.
 27         143. The allegations in this paragraph contains conclusions of law, to which
 28 no response is required. To the extent a response is required, Defendant denies she is
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  1 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
  2 or any of the relief sought thereon.
  3             144. The allegations in this paragraph contains conclusions of law, to which
  4 no response is required. To the extent a response is required, Defendant denies she is
  5 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
  6 or any of the relief sought thereon.
  7             145. Defendant denies the allegations incorporated into this paragraph to the
  8 extent they are denied elsewhere herein. Defendant denies any allegation not
  9 specifically admitted.
 10             146. The allegations in this paragraph contains conclusions of law, to which
 11 no response is required.
 12             147. The allegations in this paragraph contains conclusions of law, to which
 13 no response is required. To the extent a response is required, Defendant denies she is
 14 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 15 or any of the relief sought thereon.
 16             148. Defendant lacks sufficient knowledge or information to form a belief
 17 about the remaining allegations in this paragraph, and on that basis denies them.
 18             149. The allegations in this paragraph contains conclusions of law, to which
 19 no response is required. To the extent a response is required, Defendant denies she is
 20 liable to Plaintiff for any of the claims or causes of action asserted in the Complaint,
 21 or any of the relief sought thereon.
 22             150. To the extent a response is required, Defendant denies she is liable to
 23 Plaintiff for any of the claims or causes of action asserted in the Complaint, or any
 24 of the relief sought thereon.
 25             151. To the extent a response is required, Defendant denies she is liable to
 26 Plaintiff for any of the claims or causes of action asserted in the Complaint, or any
 27 of the relief sought thereon.
 28             152. The remaining paragraphs of the Complaint contain Plaintiff’s
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  1 requested relief, to which no response is required. To the extent a response may be
  2 required, Defendants deny the allegations contained in the Complaint’s remaining
  3 paragraphs and further deny Plaintiff is entitled to any relief from Defendant. Any
  4 allegation not specifically addressed is denied.
  5
  6                                AFFIRMATIVE DEFENSES
  7         Defendants assert the following affirmative defenses as separate and distinct
  8 defenses to the Complaint, and each and every cause of action thereof. Defendant
  9 does not concede that Defendant has the burden of production or proof as to any
 10 affirmative defenses set forth below. Further, Defendant does not presently know all
 11 of the facts concerning the conduct of Plaintiff sufficient to state all affirmative
 12 defenses at this time. Defendant is informed and believe that a reasonable
 13 opportunity for investigation and discovery will reveal facts in support of the
 14 following affirmative defenses.
 15                              FIRST AFFIRMATIVE DEFENSE
 16         AS A SEPARATE DEFENSE Defendant is informed and believes neither the
 17 Complaint nor any cause of action in the Complaint states facts sufficient to constitute a
 18 cause of action against this appearing Defendant.
 19
                               SECOND AFFIRMATIVE DEFENSE
 20
            AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
 21
 22 complaint and each cause of action contained therein are barred by the applicable statutes of
 23 limitation, including, but not limited to, sections 335.1, 338, and 343 of the Code of Civil
 24 Procedure.
 25                             THIRD AFFIRMATIVE DEFENSE
 26         AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes
 27 Plaintiff’s alleged injuries and damages, if any, were aggravated by Plaintiff’s failure to use
 28 reasonable diligence to mitigate them.
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  1                             FOURTH AFFIRMATIVE DEFENSE
  2             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
  3 Plaintiff has waived the right to maintain the actions filed in this case.
  4
                                 FIFTH AFFIRMATIVE DEFENSE
  5
                AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
  6
  7 Plaintiff and/or Decedent was guilty of comparative fault or negligence in the matters set
  8 forth in the complaint which proximately caused or contributed to the injuries or damages
  9 alleged in the complaint.
 10                             SIXTH AFFIRMATIVE DEFENSE
 11             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
 12 codefendants, and each of them, named and unnamed in the Complaint, were guilty of
 13 negligence, or other acts or omissions related to the matters set forth in the complaint which
 14 proximately caused the injuries and damages alleged therein, if any, and the percentage of
 15 negligence attributable to each said codefendant should be determined and allocated
 16 accordingly.
 17
                              SEVENTH AFFIRMATIVE DEFENSE
 18
                AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
 19
 20 Plaintiff had knowledge of the risks and hazards inherent in the events and activities which
 21 took place at the times set forth in the complaint, as well as the magnitude of those risks and
 22 hazards, and thereafter knowingly and willingly assumed and accepted those risks and
 23 hazards.
 24                             EIGHTH AFFIRMATIVE DEFENSE
 25             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
 26 Plaintiff is estopped by action of law or by conduct from maintaining the actions filed in this
 27 case.
 28
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  1                             NINTH AFFIRMATIVE DEFENSE
  2         AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
  3 Plaintiff has “unclean hands” with regard to the relief sought in the complaint and are
  4 therefore barred from obtaining such relief.
  5
                                TENTH AFFIRMATIVE DEFENSE
  6
            AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes
  7
  8 Plaintiff’s behavior at the time of injury constitutes willful misconduct, and Plaintiff is thus
  9 barred from seeking recovery based upon the asserted negligence of Defendant.
 10                          ELEVENTH AFFIRMATIVE DEFENSE
 11         AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
 12 actions filed in this case are not maintainable under the doctrine of laches because of
 13 Plaintiff’s prejudicial delay in asserting them.
 14
                              TWELFTH AFFIRMATIVE DEFENSE
 15
            AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes
 16
 17 Plaintiff’s complaint fails to state the existence of a justiciable controversy between the
 18 parties.
 19                         THIRTEENTH AFFIRMATIVE DEFENSE
 20         AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes should
 21 loss, damages or detriment have occurred as alleged in Plaintiffs' complaint, then said loss,
 22 damage or detriment was actually and proximately caused or contributed to by the
 23 negligence or wrongful and/or careless action or omission to act and/or other tortious
 24 conduct of persons or entities other than this Defendant.
 25
                           FOURTEENTH AFFIRMATIVE DEFENSE
 26
            AS A FURTHER SEPARATE DEFENSE, Defendant is informed and believes that
 27
 28 any action or omission to act on defendant's part, or any action or omission to act on the part
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  1 of any person or any entity for whose actions or omissions defendant is (or may be
  2 established to be) legally responsible, did not actually or proximately cause or contribute in
  3 any manner or to any degree, to any losses or damages for which recovery is sought by
  4 Plaintiff in the complaint.
  5                           FIFTEENTH AFFIRMATIVE DEFENSE
  6
             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
  7
      acts or omissions to act, and/or other alleged tortious conduct of persons or entities other
  8
      than this defendant, actually and proximately caused or contributed to Plaintiff's underlying
  9
      losses and damages, if any. Accordingly, said actions or omissions to act constituted
 10
      intervening and superseding causes of the losses or damages, if any, allegedly sustained by
 11
      the underlying Plaintiff.
 12
                              SIXTEENTH AFFIRMATIVE DEFENSE
 13
 14          AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes
 15 Plaintiff’s claims are barred due to Plaintiff’s and/or Decedent’s assumption of the risk,
 16 either express or implied, of her alleged injuries and damages.
 17                         SEVENTEENTH AFFIRMATIVE DEFENSE
 18
             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes that
 19
      should it be found that defendant is in any manner legally responsible for damages sustained
 20
      by Plaintiff in the underlying action, which defendant specifically denies, Defendant’s
 21
      liability for non-economic damages shall be severally only and not joint, such that this party
 22
      shall be liable only for the amount of non-economic damages allocated to it in direct
 23
      proportion to its percentage of fault.
 24
                             EIGHTEENTH AFFIRMATIVE DEFENSE
 25
 26          AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes that
 27 Plaintiff is barred from recovery because defendant lacked actual or constructive notice of
 28 the allegedly dangerous conditions alleged by Plaintiff.
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  1                         NINETEENTH AFFIRMATIVE DEFENSE
  2             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes that if
  3 this Defendant is found to have been negligent or at fault in any manner, which is expressly
  4 denied, any negligence or fault could only be vicarious, secondary and passive, while the
  5 negligence of Plaintiff, and/or Decedent, and/or other defendants, and other third parties,
  6 would be active and primary.
  7
                             TWENTIETH AFFIRMATIVE DEFENSE
  8
                AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes the
  9
 10 subject underlying incident was caused by unforeseeable criminal actions of third parties
 11 other than Defendant.
 12                        TWENTY-FIRST AFFIRMATIVE DEFENSE
 13             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes at all
 14 relevant times Defendant relied on a good faith interpretation of law.
 15
                          TWENTY-SECOND AFFIRMATIVE DEFENSE
 16
                AS A FURTHER SEPARATE DEFENSE Defendant is informed and believes that
 17
 18 Plaintiff was not deprived of life, liberty, property, or any other Constitution or statutory
 19 right through any act or omission of Defendant.
 20                        TWENTY-THIRD AFFIRMATIVE DEFENSE
 21             AS A FURTHER SEPARATE DEFENSE Defendant is informed and believe that hat
 22 the Complaint and each purported cause of action therein fails, since the Plaintiff does not
 23 describe claims against Defendant with sufficient particularity to enable Defendant to
 24 ascertain all of the defenses that may exist. Defendants, therefore, reserves the right to amend
 25 Defendant’s answer and to assert additional defenses and/or supplement, alter, or change
 26 this answer upon completion of appropriate investigation and discovery concerning
 27 Plaintiff’s claims once      the precise nature of the claims made against Defendant is
 28 determined.
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  1                                            PRAYER
  2             WHEREFORE, Defendant prays that Plaintiff takes nothing by way of the Complaint
  3 and that Defendant have judgment in Defendant’s favor, for all costs of suit, attorneys’ fees,
  4 on all special defenses, and for all other relief that the court may order or award in this case.
  5                                 DEMAND FOR JURY TRIAL
  6             Defendant hereby demands a jury trial on all claims and allegations asserted by
  7 Plaintiff in the Complaint.
  8 DATED: December 6, 2024                           Respectfully submitted,
  9
                                                      MESSNER REEVES LLP
 10
 11
 12
                                                            /s/ Andrew Hollins
 13                                                   Andrew Hollins
 14                                                   Ethan Reimers
                                                      Attorneys for Defendants BONNIE
 15                                                   SAYERS and JANET BROWN
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  1                                CERTIFICATE OF SERVICE
  2             I hereby certify that on December 6, 2024, I electronically filed the
  3 foregoing ANSWER OF BONNIE SAYERS TO PLAINTIFF’S COMPLAINT
  4 FOR DAMAGES AND DEMAND FOR JURY TRIAL with the Clerk of the
  5 Court using the CM/ECF system which will send notification of such filing to the
  6 following on the attached service list:
  7             I also certify the document and a copy of the Notice of Electronic Filing was
  8 served via on the following non-CM/ECF participants:
  9
 10
 11                                                 /s/ Sabrina Johnson
                                                    Sabrina Johnson
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 26                                               Josh Simpson and Shelle Watson
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